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                                            UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF TEXAS                                                                                Voluntary Petition
                                                    DALLAS DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                         Name of Joint Debtor (Spouse) (Last, First, Middle):
White, Shuntay R

All Other Names used by the Debtor in the last 8 years                                             All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                        (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more                          Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more
than one, state all):                                                                              than one, state all):
xxx-xx-2089
Street Address of Debtor (No. & Street, City, and State):                                          Street Address of Joint Debtor (No. & Street, City, and State):
4115 Joe Ramsey Apt 259
Greenville, TX
                                                                          ZIPCODE                                                                                        ZIPCODE
                                                                           75402
County of Residence or of the Principal Place of Business:                                         County of Residence or of the Principal Place of Business:
Hunt
Mailing Address of Debtor (if different from street address):                                      Mailing Address of Joint Debtor (if different from street address):
4115 Joe Ramsey Apt 259
Greenville, TX
                                                                          ZIPCODE                                                                                        ZIPCODE
                                                                           75402
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                         ZIPCODE


 Type of Debtor (Form of Organization)                         Nature of Business                                Chapter of Bankruptcy Code Under Which
               (Check one box.)                              (Check all applicable boxes.)                          the Petition is Filed (Check one box)
 þ    Individual (includes Joint Debtors)
                                                     ¨   Health Care Business
 ¨    Corporation (includes LLC and LLP)
                                                     ¨   Single Asset Real Estate as defined       ¨    Chapter 7           ¨     Chapter 11       ¨    Chapter 15 Petition for Recognition
                                                                                                                                                        of a Foreign Main Proceeding
 ¨    Partnership                                        in 11 U.S.C. § 101(51B)                   ¨    Chapter 9           ¨     Chapter 12

 ¨    Other (If debtor is not one of the above       ¨   Railroad                                                þ   Chapter 13                    ¨    Chapter 15 Petition for Recognition
      entities, check this box and provide the                                                                                                          of a Foreign Nonmain Proceeding
      information requested below.)                  ¨   Stockbroker

      State type of entity:                          ¨   Commodity Broker                                                Nature of Debts (Check one box)
                                                     ¨   Clearing Bank                             þ    Consumer/Non-Business                      ¨    Business
                                                     ¨   Nonprofit Organization qualified
                                                         under 15 U.S.C. § 501(c)(3)                                                Chapter 11 Debtors
                                                                                                   Check one box:
                              Filing Fee (Check one box)
                                                                                                   ¨    Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
 þ    Full Filing Fee attached
                                                                                                   ¨    Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
 ¨    Filing Fee to be paid in installments (Applicable to individuals only)
      Must attach signed application for the court's consideration certifying that the             Check if:
      debtor is unable to pay fee except in installments. Rule 1006(b). See Official
      Form 3A.                                                                                     ¨    Debtor's aggregate noncontigent liquidated debts owed to non-insiders or
                                                                                                        affiliates are less than $2 million.
      Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must
 ¨    attach signed application for the court's consideration. See Official Form 3B.
 Statistical/Administrative Information                                                                                                           THIS SPACE IS FOR COURT USE ONLY

 þ    Debtor estimates that funds will be available for distribution to unsecured creditors.

 ¨    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number
 of Creditors            1-         50-        100-          200-     1,000-     5,001-      10,001-   25,001-    50,001-     OVER
                         49         99         199           999      5,000      10,000      25,000    50,000     100,000    100,000
                        þ          ¨             ¨           ¨         ¨          ¨            ¨         ¨           ¨          ¨
 Estimated Assets
   $0 to         $50,001 to       $100,001 to         $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to More than
  $50,000         $100,000         $500,000            $1 million      $10 million   $50 million   $100 million  $100 million
   þ                 ¨                 ¨                 ¨                 ¨                 ¨               ¨                ¨
 Estimated Debts
   $0 to         $50,001 to       $100,001 to         $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to More than
  $50,000         $100,000         $500,000            $1 million      $10 million   $50 million   $100 million  $100 million
   þ                 ¨                 ¨                 ¨                 ¨                 ¨               ¨                ¨
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                                                                    Document     Page 2 of 8                                                                   FORM B1, Page 2
 Voluntary Petition                                                                     Name of Debtor(s):    Shuntay R White
 (This page must be completed and filed in every case)
                              Prior Bankruptcy Case Filed Within Last 8 Years                  (If more than two, attach additional sheet)
Location Where Filed:                                                                   Case Number:                                  Date Filed:
 None
Location Where Filed:                                                                   Case Number:                                  Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                 (If more than one, attach additional sheet)
Name of Debtor:                                                                         Case Number:                                  Date Filed:
 None
District:                                                                               Relationship:                                 Judge:


                                         Exhibit A                                                                             Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                           (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                              whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)     I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                        informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                        of title 11, United States Code, and have explained the relief available under each
                                                                                        such chapter.
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                        I further certify that I delivered to the debtor the notice required by § 342(b) of the
                                                                                        Bankruptcy Code.

                                                                                        X     /s/ Gregory Howard Wiley                                           05/18/2006
                                                                                             Gregory Howard Wiley                                                   Date
                                         Exhibit C                                                  Certification Concerning Debt Counseling
 Does the debtor own or have possession of any property that poses or is alleged to                      by Individual/Joint Debtor(s)
 pose a threat of imminent and identifiable harm to public health or safety?
                                                                                              I/we have received approved budget and credit counseling during the 180-day
                                                                                        ¨     period preceding the filing of this petition.
 ¨      Yes, and Exhibit C is attached and made a part of this petition.
                                                                                        ¨     I/we request a waiver of the requirement to obtain budget and credit counseling
                                                                                              prior to filing based on exigent circumstances. (Must attach certifcation
 þ      No
                                                                                              describing.)


                                                     Information Regarding the Debtor (Check the Applicable Boxes)
                                                                  Venue (Check any applicable box)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding (in a federal or state court) in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.


                                                Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                      Check all applicable boxes.


 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)
                Name of landlord that obtained judgment:
                Address of landlord:




 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and



 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.




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 Voluntary Petition                                                                          Name of Debtor(s):     Shuntay R White
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by § 342(b) of the
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by § 1515 of title 11 are attached.
 Bankruptcy Code.

 I request relief in accordance with the chapter of title 11, United States Code,            ¨ Pursuant  to § 1511 of title 11, United States Code, I request relief in accordance
                                                                                               with the chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                     order granting recognition of the foreign main proceeding is attached.


 X     /s/ Shuntay R White
      Shuntay R White
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by an attorney)
     05/18/2006
     Date                                                                                        (Date)
                              Signature of Attorney                                                         Signature of Non-Attorney Petition Preparer
                                                                                             I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer as
 X     /s/ Gregory Howard Wiley                                                              defined in 11 U.S.C. § 110; 2) I prepared this document for compensation and
      Gregory Howard Wiley                             Bar No. 24043992                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, 3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a
 Law Office of Greg Wiley P.L.L.C.                                                           maximum fee for services chargeable by bankruptcy petition preparers, I have
 555 Republic Drive, Suite 200                                                               given the debtor notice of the maximum amount before preparing any document
                                                                                             for filing for a debtor or accepting any fee from the debtor, as required in that
 Plano, Texas 75074
                                                                                             section. Official Form 19B is attached.


          (972) 516-4205
 Phone No.______________________        (972) 422-9133
                                 Fax No.______________________                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     05/18/2006
     Date                                                                                    Social Security number (If the bankruptcy petition preparer is not an individual,
                                                                                             state the Social Security number of the officer, principal, responsible person or
                                                                                             partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of Bankruptcy Petiton Preparer or officer, principal, responsible person, or
                                                                                             partner whose social security number is provided above.

                                                                                             Names and Social Security numbers of all other individuals who prepared or
     Printed Name of Authorized Individual
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
                                                                                             an individual:
     Title of Authorized Individual

                                                                                              If more than one person prepared this document, attach additional sheets
     Date                                                                                     conforming to the appropriate official form for each person.

                                                                                              A bankruptcy petition preparer's failure to comply with the provisions of title 11
                                                                                              and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              imprisonment or both (11 U.S.C. § 110; 18 U.S.C. § 156).
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                                             NORTHERN DISTRICT OF TEXAS
                                                   DALLAS DIVISION
IN RE:   Shuntay R White




                    NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S) UNDER § 342(b)
                                    OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from credit
counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings you may
commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all information
you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not easily
described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide to
file a petition. Court employees cannot give you legal advice.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It
is up to the court to decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $39 administrative fee: Total fee $274)
1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

2. Under Chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
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                                                   DALLAS DIVISION
IN RE:   Shuntay R White




3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $39 administrative fee: Total fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.

                          Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,            Gregory Howard Wiley                   , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Gregory Howard Wiley
Gregory Howard Wiley, Attorney for Debtor(s)
Bar No.: 24043992
Law Office of Greg Wiley P.L.L.C.
555 Republic Drive, Suite 200
Plano, Texas 75074
Phone: (972) 516-4205
Fax: (972) 422-9133
E-Mail: greg@gregwileylaw.com




                                                     Certificate of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read this notice.

Shuntay R White                                                        X /s/ Shuntay R White                            05/18/2006
                                                                        Signature of Debtor                             Date
Printed Name(s) of Debtor(s)
                                                                       X
Case No. (if known)                                                        Signature of Joint Debtor (if any)           Date
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                                              NORTHERN DISTRICT OF TEXAS
                                                    DALLAS DIVISION
IN RE:     Shuntay R White                                                               CASE NO

                                                                                        CHAPTER       13

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $3,000.00
     Prior to the filing of this statement I have received:                                          $156.00
     Balance Due:                                                                                  $2,844.00

2. The source of the compensation paid to me was:
             þ    Debtor                  ¨    Other (specify)

3. The source of compensation to be paid to me is:
             þ    Debtor                  ¨    Other (specify)

4.   þ   I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

     ¨   I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Adversary Proceedings such as Dischargeability of Complaints; Motions such as Avoidance of Lien or Relief from
   Automatic Stay; Modification of or Amendment of Plan or Schedules, or Dismissal; Conversion.

                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                       05/18/2006                             /s/ Gregory Howard Wiley
                          Date                                Gregory Howard Wiley                       Bar No. 24043992
                                                              Law Office of Greg Wiley P.L.L.C.
                                                              555 Republic Drive, Suite 200
                                                              Plano, Texas 75074
                                                              Phone: (972) 516-4205 / Fax: (972) 422-9133




      /s/ Shuntay R White
     Shuntay R White
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                                               DALLAS DIVISION
  IN RE:   Shuntay R White                                                         CASE NO

                                                                                   CHAPTER   13

                                     VERIFICATION OF CREDITOR MATRIX


     The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.



Date 05/18/2006                                          Signature    /s/ Shuntay R White
                                                                     Shuntay R White



Date                                                     Signature
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                          Credit Bureau of Columbus Services
                          236 East Town St
                          Columbus, OH 43215



                          Credit Collection Services
                          2 Wells Avenue
                          Newton, MA 02459



                          Law Office of Greg Wiley P.L.L.C.
                          555 Republic Drive, Suite 200
                          Plano, Texas 75074



                          Shuntay R White
                          4115 Joe Ramsey Apt 259
                          Greenville, TX 75402



                          Toyota Motor Credit Corporation
                          5005 North River Blvd N.E.
                          Cedar Rapids, IA 52411-6634



                          US Trustee Office
                          1100 Commerce St, Rm 976
                          Dallas, TX 75242



                          Volkswagen Credit
                          2333 Waukeegan Rd
                          Deerfield, IL 60015
